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1:19-cv-00639-RB-JFR John Stein, M.D.

Dennis Murphy, as Personal Representative of the Estate of Daniel Tumer, deceased, et al., v. The City of Farmington, et al. September 15, 2020

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
NO. 1:19-cv-00639-RB-JFR

DENNIS MURPHY, as Personal Representative
of the ESTATE OF DANIEL TURNER, deceased,
and WALTER and TAMARA TURNER,

Plaintiffs,
vs.
THE CITY OF FARMINGTON, et al.,

Defendants.

DEPOSITION OF JOHN STEIN, M.D.
BY ZOOM VIDEO

Tuesday, September 15th, 2020
9:00 a.m.
WIGGINS, WILLIAMS & WIGGINS, P.C.
1803 Rio Grande Boulevard, Northwest
Albuquerque, New Mexico 87104

PURSUANT TO THE FEDERAL RULES OF CIVIL
PROCEDURE, this deposition was:

 

TAKEN BY: MS. PATRICIA G. WILLIAMS

ATTORNEY FOR DEFENDANTS EXHIBIT

  
   

REPORTED BY: MICHELE M. TRUJILLO
NEW MEXICO CCR No. 226
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I APPEARANCES 1 I've reviewed your resume, and I wanted to
2 For the Plaintiffs: °
3. MR.NICHOLAS T. DAVIS (via Zoom) 2 know how you would describe the focus of your
DAVIS LAW NEW MEXICO 3 research activities.
4 1000 Lomas Boulevard, Northwest 4 A. Generally, they involve technology
Albuquerque, New Mexico 87102 ; eS 3
5 (505) 242-1904 5 implementation in the emergency care environment.
nick @davislawnm.com 6 ~~ Q. Inotice that you have several
6 7 presentations on ultrasound and ectopic pregnancy.
7 For the Defendants: 8 Is that a particular interest of yours?
MS. PATRICIA G. WILLIAMS (via Zoom) 9 A. Yes.
8 — WIGGINS, WILLIAMS & WIGGINS, P.C. 10 Q. [also noticed, looking at your list -- and
9 MbuaNesties our 11 sometimes the names don't help us laypeople very
(505) 764-8400 12 much, but do you have any publications on cardiac
10 __ pwilliams @wwwlaw.us 13 arrest?
: 14 A. I don't believe so. I did work with some
INDEX 15 cardiologists on a number of studies, but that wasn't
13 Page 16 really the focus.
14 DEPOSITION OF JOHN STEIN, M.D. 17 Q. Okay. Do you have -- I saw that you had an
ie Fe eae 3 LS 18 albuterol study or two. Do you have other studies on
17 REPORTER'S CERTIFICATE 116 19 breathing and ventilation?
18 20 A. No. Those would definitely be the
a (No exhibits marked) 21 highlights.
21 22 Q. Do you have any publications or have you
22 23 done any research on in-custody deaths?
a 24 ~A. No.
25 25 Q. Have you done any research on acidosis?
Page 3 Page 5
1 MS. WILLIAMS: Nick, do you agree that this 1 A. Notas a -- I'm sure something pertains to
2 deposition can be taken remotely and that the court 2 acidosis, but nothing specifically on acidosis, that
3 reporter doesn't need to be in the room with 3 Ican recall.
4 Dr. Stein? 4 Q. Have you done an evaluation of weight force
5 MR. NICK DAVIS: Ido. 5 impacts on ventilations?
6 MS. WILLIAMS: Okay. Dr. Stein, I'm Patti 6 A. No.
7 Williams. I represent the City of Farmington in this 7 Q. Okay. Those are the periods that -- those
8 lawsuit. So I have a lot of questions for you today, 8 are the topics that I was looking at. Have you done
9 and Michele will swear you in. 9 any continuing medical education in those topics?
10 THE WITNESS: Good morning. 10 A. Well, acidosis is a topic that is virtually
11 MS. WILLIAMS: Good morning. 11 ubiquitous within medicine. So I would have to say
12 JOHN STEIN, M.D., 12 that, yes, many topics have arisen regarding
13 having been first duly sworn, testified as 13 acidosis. I wouldn't say that I've had a specific
14 follows: 14 CME on any of those other fairly narrow topics.
15 EXAMINATION 15 Q. Have you done research in any of those
16 BY MS. WILLIAMS: 16 topics, not just publications but research that was
17 Q. Dr. Stein, how many times have you been 17 unpublished?
18 deposed? 18 A. No.
19 A. Approximately 20. 19 Q. Okay. Thanks.
20 Q. Okay. I'm not going to go over the rules, 20 Your research has been focused on ER
21 then, because we have limited time today, and we have |21 populations, correct?
22 a lot of ground to cover. But Michele is writing 22 A. Yes.
23 everything down, and so we just need to get a good 23 Q. Is that a different population than a
24 record and be aware that that's what we're trying to 24 population in the field, if you know what I mean by
25 do today. 25 that, that law enforcement or EMTs or paramedics

 

 

 

 

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1 would come across, outside of the hospital context? 1 education?

2 A. I'm not sure I completely understand, but 2 A. No.

3 every EMS patient becomes my patient. 3 Q. Have you ever trained law enforcement

4 Q. But have you done the encounters outside of 4 officers in positional asphyxiation?

5 the hospital setting? What's your experience outside 5 A. No.

6 of the hospital setting with those patients? 6 Q. Have you ever trained law enforcement

7 A. Yeah, I was also an EMT. 7 officers in the recovery position?

8 Q. For how long? 8 A. No.

9 A. Two to three years. I can't quite recall. 9 Q. What's your experience with safety
10 It was at the end of college. 10 protocols for people on a scene like Daniel Turner,
11 Q. And where was that? 11 whom I'm going to describe as an agitated
12 A. That was in Upstate New York. 12 methamphetamine user during the course of this
13 Q. Were you on a rescue unit? 13 deposition? Is that a fair description of his state?
14 A. Yes. 14 MR. NICK DAVIS: Form.
15 Q. Did you have experience working in 15 A. Yes.
16 conjunction with law enforcement officers in that 16 Q. What's your experience in the safety
17 role? 17 protocols for people like that during an EMT call?
18 A. Yes. Law enforcement is a regular part of 18 MR. NICK DAVIS: Object to the form.
19 emergency care. 19 A. If you are asking if I have formed any
20 Q. So have you ever worked in law enforcement? 20 protocols, I have not been involved in forming any
21 A. No. 21 protocols.
22 Q. And have you had any training in law 22. Q. Junderstand that, but what's your
23 enforcement? 23 experience as an EMT? Is it your understanding that
24 A. No. 24 the EMTs need to subdue and make the scene safe, or
25 Q. Have you ever worked with training law 25 is that the law enforcement officers’ duty?

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1 enforcement officers on first responder care? 1 MR. NICK DAVIS: Object to form.

2 A. No. 2 A. It's the law enforcement --

3 Q. What's your understanding of the 3 THE WITNESS: Sorry about that.

4 relationship between law enforcement and EMT 4 A. I would say, typically, that's the law

5 paramedics at a scene? 5 enforcement territory.

6 A. They are responsible for the police work, 6 Q. What obligations does the law enforcement

7 and the EMS is responsible for the medical work. 7 agency have for scene safety in a first responder

8 Q. So your training indicates that the police 8 call?

9 officers are not medically trained professionals, 9 MR. NICK DAVIS: Object to the form,
10 correct? 10 foundation.
11 MR. NICK DAVIS: Form and foundation. 11 A. I don't know that I have any awareness of
12 A. Ican't say with certainty, but it's my 12 any specifics of their responsibility.

13 experience that, typically, they require basic 13 Q. Okay.

14 life-saving skills, such as CPR certifications, 14 A. From a medical provider's perspective, we
15 et cetera. 15 are relying on the police to assess the safety and to
16 Q. Have you ever trained law enforcement 16 provide ongoing safety for the medical response.
17. officers on CPR? 17 Q. Does that sometimes include the use of

18 A. Imay have. I don't know. I did some CPR 18 restraint?

19 training for a while in medical school, and maybe 19 A. Yes.
20 there were some police officers there. I don't know 20 Q. How many times have you testified in court,
21 for sure. 21 Doctor?
22 Q. Soa law enforcement officer could have 22 A. I believe, three times.
23 been in aclass you offered, but have you ever been 23 Q. Ineach of those cases, were you an expert
24 retained by a department to train a class of law 24 in the standard of care, or were you qualified as an
25 enforcement officers as part of their continuing 25 expert in another area?

 

 

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1 A. I believe I was typically the 1 field of emergency medicine, and I have no objections
2 standard-of-care expert. 2 with the quality of his research, broadly.
3 Q. Did those cases involve an incident in a 3 Q. Before you were retained in this lawsuit,
4 hospital or an incident in the field? 4 were you familiar with any of his work?
5 A. Certainly, most of them are in the 5 A. Not that I'm aware of.
6 hospital. Let me just think if there was -- a couple 6 Q. Okay. I'm trying to hurry so that we can
7 of them have been in jail populations. I don't think 7 get our time in, and Nick knows that's hard for me.
8 I've testified in court about a jail case, but I've 8 A. Okay.
9 done some depositions in that territory. 9 MR. NICK DAVIS: I would agree that you're
10 Q. But your courtroom testimony has focused on 10 thorough, Patti.
11 standard of care in the hospital setting? 11 MS. WILLIAMS: Thorough, there you go.
1) A. Ibelieve so. 12 Q. How did you become acquainted with the
13 Q. Have you developed an opinion in any of the 13 Davis law firm, Doctor? How did you make contact
14. cases you've been retained in on EMTs' standard of 14. with them or they make contact with you?
15 care? 15 A. Iam not aware. They called me. I'm not
16 A. Not that I recall. 16 sure how they got my name.
17 Q. Have you ever developed opinions in a case 17 Q. When did they first come in contact with
18 that you've been retained to work on on law 18 you? Do you have the date in your notes?
19 enforcement officers’ standard of care? 19 A. I know that the first time that we spoke
20 A. No, certainly not. 20 was in April. So I would imagine that that was
2 Q. Is it your opinion that law enforcement 21 roughly the time that they -- that we were in
22 officers are bound by a medical provider's standard 22 contact.
23 of care or not? 23 Q. What were you retained to do?
24 A. Not that I'm aware of. 24 +A. I was retained to review a number of files
25 Q. In what states were you testifying as an 25 and videos and conversations, I guess, interrogations
Page 11 Page 13
1 expert in court, Doctor? 1 that pertained to Mr. Turner, and to come to an
2 A. In court, one was California, one was 2 assessment about what were the medical situations
3 Washington, and one was Virginia. . 3 that pertained to his care.
4 Q. When was the last time you were qualified 4 Q. Did you get an engagement letter or email
5 as an expert in court? 5 or something that described the scope of work?
6 A. I believe my estimate would be 2019. 6 A. Not that I recall.
7 Q. Have you ever been qualified by a court to 7 Q. Have you ever reviewed cases for the Davis
8 testify against law enforcement officers' conduct or 8 law firm before?
9 actions before? 9 A. I know that we discussed one other case by
10 A. I don't believe so. 10 phone on one occasion.
11 Q. Do you know Dr. Bilke? 11 Q. What year was that, Doctor?
12 A. No. 12 A. If I'm not mistaken, this was after April.
13 Q. Bilke. I'm sorry. It's Bilke. You don't? 13 Q. So your memory is that this was the first
14 A. No, I don't. 14 case that you've been retained by that firm to opine
15 Q. Have you been on opposite sides of cases 15 in?
16 before? 16 A. Ibelieve so.
17 A. Not that I'm aware of. 17 Q. What did you ask to review in order to
18 Q. Have you read his research or publications? 18 prepare your opinions in this case?
19 A. Yes, some of them. 19 A. Well, after we talked on the phone and I
20 Q. What's your opinion of his work? 20 understood a little bit of the scope of work, the law
21 A. In what regard? 21 firm provided me with an extensive set of files to
22 Q. The quality of his work compared against 22 review.
23 others in your field of emergency medicine. 23 Q. Did you select the information, or was it
24 A. So, if we are speaking broadly about his 24 information that they thought would be helpful to
25 research background, he seems to be a leader in the 25 you? Who initiated the first set of document

 

 

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1 exchange? 1 Q. Are all of your active cases cases that
2 A. They provided the documents, and they 2 involve claims of medical malpractice?
3 seemed rather exhaustive. So I felt that I had all 3 A. That certainly is the majority.
4 of the documents that I needed to review. 4 Q. Can you tell me the names of one or two
5 Q. So, to date, there's nothing that you 5 cases in which the issue was not medical malpractice
6 wished that you had access to that you didn't have 6 in which you offered opinions?
7 access to in this case in order to make your 7 A. I'd have to take a look at my files, here.
8 opinions? 8 Q. I'm okay if you take that time.
9 MR. NICK DAVIS: Object to the form. 9 A. Okay.
10 A. Not that I'm aware of. 10 Okay. Generally speaking, reviewing my
11 Q. And you're not waiting to review anything 11 list of deposition testimony, they seem to mostly
12 else, correct? 12 fall into that category. I'm not sure if I have any
13 A. No. In my experience, things do evolve 13. that don't.
14 over time. So perhaps there will be something else 14 Q. And you're not finding any outliers,
15 to review, such as other depositions, but at this 15 looking at your list? I know it's a quick review,
16 point in time, I don't -- I'm not aware of anything 16 but --
17 else that I would need to make my judgments. 17 A. No, not -- no, I don't believe so.
18 Q. Okay. Thanks. 18 Q. If you think of one during this deposition
19 Have you made plans to attend the trial in 19 that did not just involve claims of medical
20 this case in April of next year? 20 malpractice, will you let me know?
21 A. Yes. 21 A. Okay.
29 MR. NICK DAVIS: Correction. March. 22 Q. Because this will probably be the only time
23 MS. WILLIAMS: You are right. March. It's 23 we will have a chance to talk.
24 like when Trump said vote on November 28th. 24 A. Sure.
25 Q. Sorry. That's not what I was trying to do, 25 Q. Iunderstand that you rate cases during
Page 15 Page 17
1 Doctor. I'm not that tricky. 1 your review on a one-to-ten scale. Is that the case?
2 Are you working on any other cases in 2 A. Sometimes.
3 New Mexico, currently? 3 Q. Did you rate this case on a one-to-ten?
4 A. I'm sure that Iam. 4 A. Not that I recall.
5 Q. Can you call them out for me? 5 Q. If you were rating it today, how would you
6 A. No, not without some kind of search of my 6 rate this case on your one-to-ten scale? And I
7 computer. 7 understand that one is the best -- the worst-case
8 Q. How many active cases do you have at a 8 scenario for the plaintiff, and 10 is the best-case
9 time, Doctor, in which you're offering expert 9 scenario for the plaintiff, right? Or is that
10 testimony? 10 opposite?
11 A. You know, to be honest, it's always a 11 A. These discussions are always a little bit
12 little hard for me to tell which ones are active, 12 different from attorney to attorney, but I would rate
13. because I just wait for the attorneys to call me and 13. this as a highly favorable case from the plaintiff's
14 request help. I would estimate that I often have 14 perspective.
15 somewhere between five and ten cases that are, 15 Q. And why do you make that rating?
16 quote-unquote, "active." 16 A. Because the medical facts in the case seem
17 Q. Do you recall any in New Mexico, currently? 17 fairly straightforward to me.
18 A. I definitely work with other attorneys in 18 Q. What are the plaintiff's strengths in this
19 New Mexico. 19 case, from the medical perspective --
20 Q. In Albuquerque or in other cities? 20 MR. NICK DAVIS: Form and foundation.
21 A. I would believe that most of them are in 21 Q. -- on which you've been retained to opine?
22 Albuquerque. 22 A. SoI would say that the medical facts in
23 Q. Do you keep a list of cases that you're 23 this case that are strong for the plaintiff are that
24 currently working on? 24 we had a patient who was very typical for emergency
25 A. Not that I'm currently working on. 25 medical practice and in no way, shape, or form

 

 

 

 

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1 levels, sometimes even faster. But, you know, 10 1 level in the field?
2 minutes is kind of a reasonable time check, 2 A. Not if you want to actually have the
3 sometimes. So one can fix that fairly quickly. 3 number.
4 Sometimes it takes much longer, though. 4 Q. Is there any way for the first responder,
5 Q. Is there any data -- and I don't know if 5 including a law enforcement officer, to check the CO2
6 this is in the Hicks article or not -- that shows the 6 value, which I know, you said, is not a great
7 pH values of an agitated meth user in the field, 7 correlation? But there could be some information
8 where they should be? 8 gathered in the field?
9 A. Yes. That Hicks article does reference 9 A. In the field, you can use the end-tidal
10 five cases where they did measure the pH levels. 10 carbon dioxide monitor.
11 Q. In the field? 11 Q. But I think you've indicated that that
12 A. In the field or shortly after arrival to 12 doesn't necessarily give you a good correlation in
13. the Emergency Department. 13. this situation?
14 Q. Were they above 7.4? 14 A. I don't think it's going to correlate well
15 A. No. They were well below. 15 with the pH. That would be a hard interpretation to
16 Q. Were they below seven? 16 make.
17 A. Yes. All of them were below seven, I 17 Q. Okay. Let's talk a little bit about the
18 believe. 18 incident in the Durango Joe's parking lot in
19 Q. Is there a way in the field to determine 19 Farmington, New Mexico. That incident was before
20 what a blood gas pH level is? 20 there was any opportunity to triage, medically
21 A. As I said, this is not difficult to guess, 21 triage, Daniel Turner, correct?
22 what the pH level would be, but one cannot obtain the 22 A. Yes.
23 actual value without measuring the blood. 23 MR. NICK DAVIS: Object to the form.
24 Q. Is an EMT rig set up to allow blood gas 24 Q. And that incident occurred before any
25. tests? 25 medical history was taken by any medical
Page 43 Page 45
1 A. No. 1 professional, correct?
2 MR. NICK DAVIS: Foundation. 2 A. By a medical professional, yes.
3. A. They only have an indirect, where they can 3 Q. And it was before any medical screening
4 measure the end-tidal CO2. 4 exams could be taken, correct?
5 Q. And there's a correlation between the CO2 5 A. I believe the officer tried to do what I
6 and the pH? 6 would say was a medical screening exam.
7 A. Do you hear somebody else on the -- 7 Q. Do you know what his training in medical
8 Q. Ido. It's not in our top set here, but -- 8 screening exams would have been?
9 A. Is there a correlation? There's not a 9 A. No, but he tried to obtain some medical
10 great correlation, unfortunately. There are some 10 data, and so that seems to be a medical screening
11 instances where it can be highly effective. This is 11 exam, from my perspective.
12 not one of those situations. 12 Q. By asking Daniel -- what questions do you
13 Q. Is there any data showing, and I think you 13 consider to be medical screening?
14 just answered this question, what the CO2 value should 14 A. Oh, I just remember him asking the family,
15 be ina meth user who is agitated in the field? 15 you know, "What happened?" and, "Is he on any drugs?"
16 A. I guess I would say my answer for that is 16 and, "Are there health problems?" That kind of
17 that I don't have a good answer for you there, 17 thing.
18 because the values are always in response to the pH, 18 Q. In your opinion, is it reasonable for law
19 and so it's the pH that's important. The 19 enforcement first responders to wait, to defer to
20 compensation happens, but because of different levels 20 EMTs or paramedics who are en route to the scene,
21 and different metabolic circumstances, a different 21 when possible?
22 level of carbon dioxide can achieve kind of a widely 22 MR. NICK DAVIS: Object to the form.
23 different range of pH levels. 23 A. Like I said, I'm not really much of an
24 Q. Is there any way for a law enforcement 24 expert on police activities or procedures, but
25 officer or other first responder to determine a pH 25 that's -- it seems like a reasonable statement that

 

 

 

 

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1 they would wait for the medical team to arrive, if 1 enforcement officer's medical training to make an
2 that's possible. 2 assessment as to whether a person is near death or
3 Q. Do you agree that the scene in the 3 not?
4 Durango Joe's parking lot was a rapidly changing 4 A. I would say I don't know what the law
5 situation? 5 enforcement training is in that regard.
6 A. When compared to what? 6 Q. You agree that the law enforcement officers
7 Q. When compared to normal, everyday life. 7 are laypeople in the medical field, right?
8 A. Yes. 8 MR. NICK DAVIS: Object to foundation.
9 Q. And it's your opinion that the scene 9 A. Generally, I think that's correct. I mean,
10 changed so rapidly that, within minutes, 10 they obviously receive more training than most
11 Daniel Turner went from being perfectly healthy to 11 regular laypeople.
12 dead, right? 12 Q. But they aren't medical providers, in your
13 MR. NICK DAVIS: Object to the form. 13 opinion, as an emergency room physician, are they?
14 A. Yeah, I never said he was perfectly 14 A. I wouldn't consider them a medical
15 healthy, but, yes, the person -- 15 provider, only of basic first aid.
16 Q. Okay. I don't mean to put words in your 16 Q. And high school students can get that in a
17. mouth. How would you describe the situation before 17 class in school, right?
18 his death, in the minutes before his death, after the 18 MR. NICK DAVIS: Foundation.
19 officer first encountered him through the time that 19 A. Ibelieve so.
20 he expired? 20 Q. Law enforcement officers have no ability in
21 A. So, as I mentioned, he's a patient with 21 this case that we're talking about to start treatment
22 altered mental status who was agitated. 22 for an agitated person in an altered mental state,
23 Q. Do you consider that, when someone has 23 correct?
24 encountered a law enforcement officer, they're a 24 MR. NICK DAVIS: Foundation.
25 patient? 25 A. I guess that depends on what you'd define
Page 47 Page 49
1 A. I really don't know how law enforcement 1 as "treatment."
2 views that. 2 Q. Well, I don't really have a definition.
3 Q. Okay. Because you keep referring to him as 3 I'm going back to your definition of the treatment
4 a patient, and I don't know that the law 4 that you described in your emergency room setting,
5 enforcement -- you don't consider him to be a patient 5 which is restrain and medicate. If I misunderstood
6 of the law enforcement officers, do you? 6 that, please let me know.
7 A. Like I said, I don't really know how law 7 A. As well as communicate. So that's always
8 enforcement views this, but, to me, they're all 8 our first attempt, to communicate and try to calm
9 patients. 9 down verbally.
10 Q. And that's because of your training as a 10 Q. And even with your attempts to communicate
11 medical professional, correct? 11 in the emergency room setting, you still find
12 A. Yes. 12 yourself needing to medicate and restrain once a week
13 Q. Is there a way to determine a 13 or so, correct?
14 methamphetamine level in a person presenting like 14 A. Yes.
15 Daniel Turner in the field? 15 Q. So communication might be the first line of
16 A. No. 16 defense, but it's not the line of defense that you
17 Q. Is it your understanding that the law 17 stop at, right?
18 enforcement officers did not have the ability to 18 A. Lagree.
19 administer benzodiazepines to Daniel Turner? 19 Q. I know that, for some drugs, you can have a
20 A. Ican't imagine that they could have. 20 counteracting drug for an overdose. Is there such a
21 Q. Does the EMT or paramedic crew have the 21 thing for methamphetamine?
22 ability to administer those medications? 22 A. Not for methamphetamine, no.
23 MR. NICK DAVIS: Foundation. 23 Q. So there's no drug that you could give them
24 A. Oftentimes, yes. 24 in an emergency room setting or you could give them
25 Q. What's your understanding of a law 25 in the field that would counteract the effects of the

 

 

 

 

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